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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )         Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )

                                PLAINTIFFS’ WITNESS LIST

        Plaintiffs Steven Wayne Fish, Donna Bucci, Charles Stricker, Thomas J. Boynton,

Douglas Hutchinson, and the League of Women Voters Kansas (“LWVK” and collectively with

Fish, Bucci, Stricker, Boynton, and Hutchinson, “Plaintiffs”) hereby provide their Witness List

for the above-referenced case scheduled to start trial on March 6, 2018:

   I.      Fact Witnesses

                   Witness                                           Testimony
Marge Ahrens (live)                                Effect of the documentary proof of citizenship
515 S. Kansas Ave., Suite C                        law (“DPOC law”)
Topeka, KS 66603
Thomas J. Boynton (live)                           Effect of the DPOC law
348 S. Lorraine Ave.
Wichita, KS 67211
Brad Bryant (live)                                 Methods for preventing and/or addressing
412 Aquarius St.,                                  non-citizen registration
Silver Lake, KS 66539
Donna Bucci (live)                                 Effect of the DPOC law
2932 S. Edwards St.,
Wichita, KS 67217
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Brian Caskey (live)                        Non-citizen registration and voting in Kansas;
Kansas Secretary of State                  Methods for preventing and/or addressing
Memorial Hall, 1st Floor                   non-citizen registration
120 SW 10th Avenue
Topeka, KS 66612
Steven Wayne Fish (live)                   Effect of the DPOC law
1401 E24th St., Apt. B10
Lawrence, KS 66046
Kris Kobach (live)                         Efforts to amend NVRA
Kansas Secretary of State
Memorial Hall, 1st Floor
120 SW 10th Avenue
Topeka, KS 66612
Tabitha Lehman (live)                      Non-citizen registration and voting in Kansas
510 N. Main, #101
Wichita, KS 67203
Eric Rucker (via deposition)               Methods for preventing and/or addressing
Kansas Secretary of State                  non-citizen registration
Memorial Hall, 1st Floor
120 SW 10th Avenue
Topeka, KS 66612
Charles Stricker (live)                    Effect of the DPOC law
4418 N. Ironwood St.,
Wichita, KS 67226

II.            Expert Witnesses

                    Witness                               Subject Matter
Stephen Ansolabehere (live)                Non-citizen registration and voting in Kansas
Professor of Government
Harvard University
Cambridge, MA
Eitan Hersh (live)                         Non-citizen registration and voting in Kansas
Associate Professor of Political Science
Tufts University
Medford, MA
Michael McDonald (live)                    Effect of the DPOC law
Associate Professor of Political Science
University of Florida
Gainesville, FL
Lorraine Minnite (live)                    Non-citizen registration and voting in Kansas
Professor of Political Science
Rutgers University
New Brunswick, NJ



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   III.      Additional Designations

          Plaintiffs reserve the right to supplement or amend this list based on Defendant’s witness

and exhibit lists. Plaintiffs’ counsel sought to facilitate a good faith advance exchange of lists

prior to filing, but counsel for Defendant were unable to do so. Plaintiffs also reserve the right to

call, live or via deposition, any witness called by Defendant.


DATED this 30th day of January, 2018.

Respectfully submitted,

/s/ Stephen Douglas Bonney                         DALE HO*
STEPHEN DOUGLAS BONNEY (#12322)                    R. ORION DANJUMA*
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* admitted pro hac vice




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                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on the 30th day of January, 2018, I electronically

filed the foregoing document using the CM/ECF system, which automatically sends notice and a

copy of the filing to all counsel of record.

                                                   /s/ Stephen Douglas Bonney
                                                   STEPHEN DOUGLAS BONNEY (#12322)

                                                   Attorney for Plaintiffs




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